         Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 1 of 28




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


In re:
                                                            Chapter 11
DEAN FOODS COMPANY, et al.,1
                                                            Case No. 19-36314 (DRJ)
                                               Debtors.
                                                            (Jointly Administered)


Daniel H. Golden, as Liquidating Trustee of the
DFC Liquidating Trust,
                                           Plaintiff,
vs.                                                         Adv. No. 21-03067
Kellogg Sales Company,
                                           Defendant.

        PLAINTIFF’S MOTION AND MEMORANDUM OF LAW IN SUPPORT OF
      SUMMARY JUDGMENT WITH RESPECT TO PLAINTIFF’S CLAIMS AGAINST
                    DEFENDANT, KELLOGG SALES COMPANY


             This motion seeks an order that may adversely affect you. If you
             oppose the motion, you should immediately contact the moving party
             to resolve the dispute. If you and the moving party cannot agree, you
             must file a response and send a copy to the moving party. You must
             file and serve your response within 21 days of the date this was served
             on you. Your response must state why the motion should not be
             granted. If you do not file a timely response, the relief may be granted
             without further notice to you. If you oppose the motion and have not
             reached an agreement, you must attend the hearing. Unless the parties
             agree otherwise, the court may consider evidence at the hearing and
             may decide the motion at the hearing.

             Represented parties should act through their attorney.




1
 The debtors or liquidating debtors in these chapter 11 cases, along with the last four digits of their respective
Employer Identification Numbers, are as follows: Dean Foods Company (9681) and Dean Holding Company (8390).
The liquidating debtors’ mailing address is: Daniel H. Golden, Trustee, Dean Foods Company Estate & Liquidating
Trust, In Care of BRG, 250 Pehle Avenue, Suite 301, Saddle Brook, NJ 07663, Attn: Rick Wright.


                                                        i
            Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 2 of 28




                                                  TABLE OF CONTENTS

TABLE OF AUTHORITIES ......................................................................................................... iv

I.         SUMMARY OF ARGUMENT .......................................................................................... 1

II.        STATEMENT OF MATERIAL FACTS NOT IN DISPUTE ............................................ 2

III.       ARGUMENT ...................................................................................................................... 6

       A. Legal Standard for Summary Judgment ............................................................................. 6

       B. The Transfers Were Property of the Debtors ...................................................................... 6

       C. Plaintiff’s Prima Facie Case is Satisfied ............................................................................ 7

           1.        The Transfers Were Made to Defendant, a Creditor of the Debtors ....................... 8

           2.        The Transfers Were on Account of Debt Owed by the Debtors Before the
                     Transfers Were Made, and Were Therefore “Antecedent” Within the Meaning Of
                     11 U.S.C. § 547(b)(2) ............................................................................................. 8

           3.        The Debtors Were Insolvent at All Times During the Preference Period and Have
                     the Benefit of the Statutory Presumption of Insolvency Under 11 U.S.C. § 547(f) 8

           4.        The Transfers Occurred on Or Within 90 Days of The Petition Date .................... 9

           5.        The Transfers Enabled Defendant to Receive More Than It Would Have Received
                     If the Transfers Had Not Been Made and Defendant Received Payment of Its
                     Debt to The Extent Provided by The Bankruptcy Code ......................................... 9

       D. The Plaintiff Need Not Introduce Evidence That the Exceptions to Avoidance Set Forth
          In 11 U.S.C. § 547(c) Are Inapplicable to The Transfers ................................................. 10

       E. Viewing the Facts in a Light Most Favorable to The Defendant, The Defendant Is Unable
          to Prove by A Preponderance of the Evidence That It Is Entitled to the Ordinary Course
          of Business Defense Under 11 U.S.C. § 547(c)(2) ........................................................... 11

           1.        Elements of the Ordinary Course of Business Defense. ....................................... 11

                     a. Elements of the Subjective Ordinary Course of Business Defense ................ 12

                     b. Elements of the Objective Ordinary Course of Business Defense .................. 14

           2.        Defendant Does Not Meet the Subjective Ordinary Course of Business Test Under
                     11 U.S.C. § 547(c)(2)(A) ...................................................................................... 14

                     a. The Vast Majority of Payments During the Historical Period Were Paid 16-25
                        Days After Invoice Date ................................................................................ 15


                                                                     ii
      Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 3 of 28




                b. The Vast Majority of Transfers Were Paid 61-65 Days After Invoice Date .. 15

                c. The Transfers Demonstrate a Significant Shift in Payment Behavior……….15

                d. Difference in Lateness is Magnified when Transfers are Compared with
                   Transactions Prior to May 2019 ……………………………………………..17

      3.        The Defendant Cannot Establish That It Meets the Objective Ordinary Course of
                Business Test Under 11 U.S.C. § 547(c)(2)(B) .................................................... 19

IV.   CONCLUSION ................................................................................................................. 20




                                                              iii
           Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 4 of 28




                                                  TABLE OF AUTHORITIES

Federal Cases

AFA Investment Inc. v. Dale T. Smith & Sons Meat Packing Co. (In re AFA Investment Inc.),
 2016 WL 908212 (Bankr. D. Del. 2016) ……………………………………………………..14
Anderson v. Liberty Lobby, Inc.,
  477 U.S. 242, 106 S. Ct. 2505 (1986) ......................................................................................... 6
Baker Hughes Oilfield Operations, Inc. v. Cage (In re Ramba, Inc.),
  416 F.3d 394 (5th Cir. 2005) …………………………………………………………………..8
Barber v. Central Bank Illinois (In re Trappers Creek, LLC),
  No. ADV. 09-8067, 2010 WL 797022 (Bankr. C.D. Ill. Mar. 5, 2010)................................... 8-9
Barnhill v. Johnson,
 503 U.S. 393, 112 S. Ct. 1386 (1992) ………………..…………………………………………9
Burtch v. Masiz (In re Vaso Active Pharmaceuticals, Inc.),
  500 B.R. 384, 394 (Bankr. D. Del. 2013) …………………………………………..………...10
Candy Fleet LLC v. Goodman,
  No. 6:14-1799, 2014 WL 5808357 (W.D. La. Sept. 26, 2014) …………...………………17-18
Celotex Corp. v. Catrett,
  477 U.S. 317, 106 S. Ct. 2548 (1986) ......................................................................................... 6
Committee of Unsecured Creditors for Pittsburgh Cut Flower Co., Inc., v. Hoopes (In re
 Pittsburgh Cut Flower Co., Inc.),
 124 B.R. 451 (Bankr. W.D. Pa. 1991) ...................................................................................... 11
Corel Petroleum, Inc. v. Banque Paribas-London,
 797 F.2d 1351 (5th Cir. 1986) ..................................................................................................... 7
First Software Corp. v. Curtis Mfg. Co. (In re First Software Corp.),
  81 B.R.211 (Bankr. D. Mass.1988) ........................................................................................... 11
G.H. Leidenheimer Baking Co. v. Sharp (In re SGSM Acquisition Co.),
  439 F.3d 233 (5th Cir. 2006) ……………………………………………….…..…11, 13-14, 16
Gasmark Ltd. Liquidating Trust v. Louis Dreyfus Natural Gas Corp.,
 158 F.3d 312 (5th Cir. 1998) …………………………………………………………..…...9, 13
Giles v. Gen. Elec. Co.,
 245 F.3d 474 (5th Cir. 2001) …………………………………………………………………...6
Gulf City Seafoods, Inc. v. Ludwig Shrimp Co. (In re Gulf City Seafoods), Inc.),
 296 F.3d 363 (5th Cir. 2002) ……………………………………………………………….....14
Hasset v. Altai, Inc. (In re CIS Corp.),
 214 B.R. 108 (S.D.N.Y. 1997) ............................................................................................ 11, 17
Hutson v. Branch Banking & Trust Co. (In re Nat’l Gas Distrib., LLC),
 346 B.R. 394 (Bankr. E.D.N.C. 2006) ...................................................................................... 12


                                                                 iv
           Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 5 of 28




In re ACP Ameri-Tech Acquisition, LLC,
   2012 WL 481582 (Bankr. E.D. Tex. Feb. 14, 2012) …………………………………………..6
In re Affiliated Foods Sw. Inc.,
  750 F.3d 714 (8th Cir. 2014) ………………………………………………………………….17
In re Alpha Ctr., Inc.,
  165 B.R. 881 (Bankr. S.D. Ill. 1994) .......................................................................................... 7
In re Barber,
  236 B.R. 655 (Bankr. N.D. Ind. 1998) ...................................................................................... 12
In re Barefoot,
  952 F.2d 795 (4th Cir. 1991) ……………………………...…………………………………..14
In re Blake,
  401 B.R. 839 (Bankr. S.D. Tex. 2009) ………………………………………………………..11
In re Blue Glob., LLC,
   591 B.R. 433 (Bankr. C.D. Cal. 2018) ………………………………………………………..18
In re Cyberrebate.com, Inc.,
  296 B.R. 639 (Bankr. E.D.N.Y. 2003) ……………………………………….………………..14
In re Dobbs,
  115 B.R. 258 (Bankr. D. Idaho 1990) ......................................................................................... 7
In re Emas Chiyoda Subsea Limited,
   2020 WL 1696105 (Bankr. S.D. Tex. Apr. 6, 2020) ………………………………..……...8-10
In re Forklift LP Corp.,
   2006 WL 2042979 (D. Del. 2006) …………………………………………………….……...14
In re Gulf Fleet Holdings, Inc.,
   2013 WL 3230433 (Bankr. W.D. La. June 25, 2013)……………..……………….….11, 16-17
In re Hechinger Inv. Co. of Delaware, Inc.,
   489 F.3d 568, 578 (3d Cir. 2007) …………………………………………………………….14
In re Magic Circle Energy Corp.,
   64 B.R. 269 (Bankr. W.D. Okla. 1986) ………………………………………………………13
In re Molded Acoustical Prod., Inc.,
  18 F.3d 217 (3d Cir. 1994) .......................................................................................................... 1
In re Quality Infusion Care, Inc.,
   2013 WL 6189948 (Bankr. S.D. Tex. Nov. 25, 2013) ……………………...………………...11
In re Quebecor World (USA), Inc.,
   491 B.R. 379 (Bankr. S.D.N.Y. 2013) …………...………………………………………..17-18
In re Schick,
   234 B.R. 337 (Bankr. S.D.N.Y.1999) ………………………………………………………..13
In re Sea Bridge Marine, Inc.,
   412 B.R. 868 (Bankr. E.D. La. 2008) ……………..………………………………….………11



                                                                   v
           Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 6 of 28




In re Sierra Steel, Inc.,
  96 B.R. 271 (B.A.P. 9th Cir. 1989) ............................................................................................. 7
In re Tennessee Chemical Company,
  112 F.3d 234 (6th Cir. 1997) ..................................................................................................... 13
In re Tolona Pizza Prods. Corp.,
   3 F.3d 1029 (7th Cir. 1993) …………………………………………………………………..18
In re Tri-Union Dev. Corp.,
  349 B.R. 145 (Bankr. S.D. Tex. 2006) ...................................................................................... 14
Jacobs v. Gramercy Jewelry Mrg. Corp. (In re M. Fabrikant & Sons, Inc.),
  2010 WL 4622449 (Bankr. S.D.N.Y. Nov. 4, 2010)……………………………...………..12-13
Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
 475 U.S. 574, 106 S. Ct. 1348 (1986) ......................................................................................... 6
Milwaukee Cheese Wisconsin, Inc. v. Bukowski et al. (Milwaukee Cheese Wisconsin, Inc.),
 164 B.R. 297 (Bankr. E.D. Wis. 1993) ..................................................................................... 11
ML Associates, Inc. v. T & R Demolition, Inc. (In re ML Assocs., Inc.),
 301 B.R. 195 (Bankr. N.D. Tex. 2003) …………………………………………..…..........13-14
Moser v. Bank of Tyler (In re Loggins),
 513 B.R. 682 (Bankr. E.D. Tex. 2014) ………………………………………………………...9
Off. Comm. of Unsecured Creditors v. CRST, Inc. (In re CGG 1355, Inc.),
  276 B.R. 377 (Bankr. D.N.J. 2002) …………………………………………………………..16
Off. Plan Comm. v. Expeditors Int’l of Wash, Inc. (In re Gateway Pac. Corp.),
  153 F.3d 915 (9th Cir. 1998) …………………………………………………………………16
Plan Administration Agent v. Coastal Industries, Inc. (In re Kevco, Inc.), Adv. No. 04-04239-
  BJH, 2005 WL 6443621 (Bankr. N.D. Tex. Jun. 30, 2005) ……………………………....12-13
Ragsdale v. Citizens and S. Nat’l Bank (In re Control Elec., Inc.),
  91 B.R. 1010 (Bankr. N.D. Ga. 1988) ......................................................................................... 9
Siegel v. Russellville Steel Company, Inc. (In re Circuit City Stores, Inc.),
  479 B.R. 703 (Bankr. E.D. Va. 2012) ………………………………………………………...18
SPW Corp. v. A.P.V. Equip., Inc. (In re SPW Corp.),
  96 B.R. 676 (Bankr. N.D. Tex. 1989) ……………...…………………………………………13
Steinberg v. NCNB Nat’l Bank of N. Carolina (In re Grabill Corp.),
   135 B.R. 101 (Bankr. N.D. Ill. 1991) ......................................................................................... 6
Unsecured Creditors Comm. of Sparrer Sausage Co., Inc. v. Jason's Foods, Inc.,
  826 F.3d 388 (7th Cir. 2016) ………..………………………………………………...….17-18


Statutes
11 U.S.C. § 547(b) ................................................................................................................. passim
11 U.S.C. § 547(c) ................................................................................................................. passim


                                                                    vi
           Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 7 of 28




11 U.S.C. § 547(f) ....................................................................................................................... 1, 8
11 U.S.C. § 547(g) ...................................................................................................................... 1, 8
Rules
Fed. R. Bankr. P. 7056 ...................................................................................................... 1, 2, 6, 11
Fed. R. Civ. P. 56 ......................................................................................................... 1, 2, 6, 11-12
Other Authorities
5 Alan N. Resnick & Henry J. Sommer, COLLIER ON BANKRUPTCY ¶ 547.04[2], at 547–51
  (16th ed. 2010) .......................................................................................................................... 12
Bankruptcy Abuse Prevention and Consumer Protection Act of 2005, Pub. L 109–8, April 20,
  2005, 119 Stat 23 ....................................................................................................................... 11




                                                                     vii
            Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 8 of 28




           Pursuant to Federal Rule of Civil Procedure 56(a), made applicable herein pursuant to

Federal Rule of Bankruptcy Procedure 7056, Daniel H. Golden, as Liquidating Trustee of the

DFC Liquidation Trust (the “Trustee” or “Plaintiff”), hereby submits this Motion and

Memorandum of Law (the “Motion”) in Support of Summary Judgment with Respect to

Plaintiff’s Claims Against Defendant, Kellogg Sales Company (the “Defendant”).

                                       I.    SUMMARY OF ARGUMENT

           The preference statute’s goals are to treat creditors fairly by prohibiting the debtor from

preferring some of its creditors to the detriment of others, while also discouraging creditors from

using strong-arm tactics to dismember a financially distressed debtor that ultimately lead the

debtor to file bankruptcy.2 Avoidance and recovery of the transfers at issue in this case will

accomplish both of these goals.

           Plaintiff has satisfied the elements under 11 U.S.C. § 547(b)(1)-(2) and (4)-(5) of its prima

facie case against Defendant, both through evidence presented infra and via admissions of

Defendant. As for the insolvency requirement of 11 U.S.C. § 547(b)(3), Plaintiff is entitled to a

presumption of insolvency under 11 U.S.C. § 547(f), and Defendant has no evidence to rebut the

statutory presumption. Thus, Plaintiff meets all elements of 11 U.S.C. § 547(b), and summary

judgment should be granted as a matter of law on Plaintiff’s case in chief.

           The Transfers are avoidable unless they are protected by one of the exceptions to avoidance

under 11 U.S.C. § 547(c). Pursuant to 11 U.S.C. § 547(g), Defendant bears the burden of proof of

its 11 U.S.C. § 547(c) defenses. There is no evidence to support an ordinary course of business

defense, and Defendant is unable to meet its burden as to this defense due to the sizeable shift in

timing of payments leading up to and throughout the Preference Period. Nor can Defendant


2
    See In re Molded Acoustical Prod., Inc., 18 F.3d 217, 219 (3d Cir. 1994).



                                                            1
           Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 9 of 28




establish any other affirmative defense. Accordingly, Plaintiff should be granted summary

judgment as a matter of law and judgment should be entered in favor of the Plaintiff and against

the Defendant in the amount of $430,869.26 plus interest.

                   II.   STATEMENT OF UNDISPUTED MATERIAL FACTS

           Pursuant to Federal Rule of Civil Procedure 56(a), made applicable by Federal Bankruptcy

Rule 7056, Plaintiff contends the following facts are not in dispute:

Undisputed Facts Concerning the Bankruptcy

           1.     On November 12, 2019 (the “Petition Date”), each of the Debtors commenced a

voluntary case under chapter 11 of the Bankruptcy Code.

           2.     On November 12, 2019, the Court entered an order authorizing the joint

administration of the Debtors’ chapter 11 cases under the original lead case captioned In re

Southern Foods Group, LLC, et al. pursuant to Bankruptcy Rule 1015(b). [Case No. 19-36313,

D.I. 9].

           3.     On March 17, 2021, the Court entered an order confirming the First Amended

Joint Chapter 11 Plan of Liquidation of Southern Foods Group, LLC, Dean Foods Company,

and Their Debtor Affiliates (the “Confirmation Order” and “Plan,” respectively).3 [Case No. 19-

36313, D.I. 3565].

           4.     On May 25, 2021, the Court entered the Final Decree and Order (I) Closing

Certain Chapter 11 Cases, (II) Terminating Certain Claims and Noticing Services, (III)

Amending the Order Directing Joint Administration of Chapter 11 Cases, and (IV) Granting

Related Relief which, among other things, provided that (i) Dean Foods Company and Dean




3
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan,
Confirmation Order, and/or Liquidating Trust Agreement. See Case No. 19-36313, D.I. 3557-1.



                                                      2
        Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 10 of 28




Holding Company (together, the “Remaining Debtors”), the Liquidating Trustee, and the

Liquidating Trust each (a) remain a representative of each of the Closing Debtors4 and their

estates for purposes of section 1123(b)(3)(B) of the Bankruptcy Code and (b) retain all rights,

interests, powers, and authorities relating to the Liquidation Trust Assets (as defined in the Plan),

including, for the avoidance of doubt, all Causes of Action; and (ii) directed that the Remaining

Debtors’ cases shall remain open and shall be jointly administered under Case No. 19-36314 of

Dean Foods Company [Bankr. Case No. 19-36313, D.I. 4057].

        5.       The effective date of the Plan (the “Effective Date”) occurred on May 28, 2021.

[Bankr. Case No. 19-36313, D.I. 4063; Bankr. Case No. 19-36314, D.I. 26]. In accordance with

the Plan and Confirmation Order, the DFC Liquidating Trust (the “Trust”) was established as of

the Effective Date of the Plan, and the Debtors and the Trustee entered into that certain

Liquidating Trust Agreement. [Bankr. Case No. 19-36313, D.I. 4065; Bankr. Case No. 19-36314,

D.I. 27]

        6.       Pursuant to paragraph 8 of the Confirmation Order and Article IV, Section A of

the Plan, the Liquidating Trust Assets, including Avoidance Actions arising under chapter 5 of

the Bankruptcy Code, were transferred to the Trust. [Bankr. Case No. 19-36313, D.I. 3565].

        7.       Pursuant to the Plan, Confirmation Order, and Liquidating Trust Agreement,

Plaintiff was appointed as the Trustee. Plaintiff is authorized and has standing, among other things,

to prosecute, compromise, settle, abandon, dismiss, or otherwise dispose of causes of action under

chapter 5 of the Bankruptcy Code. Pursuant to Article V, Section C of the Plan, the Trustee shall




4
  The Closing Debtors are all of the Debtors that were jointly administered under Case No. 19-36313 other than the
Remaining Debtors. The list of Debtors can be found at https://dm.epiq11.com/case/southernfoods/info.



                                                        3
          Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 11 of 28




be automatically substituted or supplemented as a real party in interest in any litigation commenced

prior to the Effective Date by the Debtors.5

           8.      Pursuant to Article III of the Plan and Article I.D of the Disclosure Statement [Case

No. 19-36313, D.I. 3399], General Unsecured Claims comprise an impaired class of creditors and

are expected to be paid less than 1% of the face amount of their claims.

Undisputed Facts Concerning the Adversary Proceeding

           9.      On April 28, 2021, Plaintiff filed the Complaint to Avoid and Recover Transfers

Pursuant to 11 U.S.C. §§ 547, 548 and 550 and to Disallow Claims Pursuant to 11 U.S.C. § 502

(the “Complaint”), initiating this adversary proceeding (the “Adversary Proceeding”). [D.I. 1.]

           10.     Defendant filed an answer (“Answer”) to the Complaint on July 30, 2021. [D.I.

8.]

           11.     On or about April 20, 2022, Defendant caused to be served Defendant’s Responses

to Plaintiff’s First Set of Interrogatories, Request for Production and Requests for Admission (the

“Discovery Responses”). A copy of the Discovery Responses is attached hereto as Exhibit 1.

Undisputed Facts Concerning the Preference Period Transactions Between the Debtors and
Defendant

           12.     The preference period in the Debtors’ bankruptcy cases is the 90 days prior to and

including the Petition Date, which is August 14, 2019 through November 12, 2019 (the “Preference

Period”). Declaration of Daniel H. Golden, at ¶ 5 (hereafter, “Golden Decl. at ¶ ___”). A copy of

the Golden Declaration is attached hereto as Exhibit 2.

           13.     During the Preference Period, Debtor Dean Foods Company paid to Defendant and

Defendant received payments in the total sum of $399,189.26 (the “Dean Foods Transfers”).




5
    The Complaint was initially filed in the name of Dean Foods Company and Dean Dairy Holdings, LLC.


                                                        4
        Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 12 of 28




Complaint ¶ 20, Ex. A; Answer ¶ 20; Golden Decl. at ¶ 6; Defendant’s Admission Nos. 1 & 2 -

admitting to receiving the Transfers).

        14.    During the Preference Period, Debtor Dean Dairy Holdings, LLC (“Dean Dairy

Holdings”) paid to Defendant and Defendant received a payment of $31,680.00 (the “Dean Dairy

Transfer” and, together with the Dean Foods Transfers, the “Transfers”). Complaint ¶ 21, Ex. B;

Answer ¶ 21; Golden Decl. at ¶ 7.

        15.    The Transfers were made for Defendant’s benefit or the benefit of a creditor.

Defendant’s Admission No. 4 (admitting that the Transfers received in the Preference Period were

for Defendant’s benefit or that of a creditor).

        16.    At the time of the Transfers, Defendant was a creditor of the Debtors. Defendant’s

Admission No. 5 (admitting that Defendant was a creditor of the Debtor at the time of the

Transfers).

        17.    Defendant had a right to receive the Transfers in satisfaction of or on account of a

then-existing obligation or debt owed to it by the Debtors at the time of the Transfer. Defendant’s

Admission No. 3 (admitting that Defendant had a right to receive the Transfers in satisfaction or

on account of a then-existing debt at the time they were made).

        18.    The Transfers constituted payment on antecedent debt, as they were made pursuant

to obligations that arose prior to each payment. Defendant’s Admission No. 6 (admitting that each

Transfer was made on account of an antecedent debt); Golden Decl. at ¶ 8, Exs. A, B.

        19.    Defendant did not hold a fully perfected security interest in the assets of the

Debtors. Defendant’s Admission No. 10 (admitting Defendant did not hold a perfected security

interest).




                                                  5
       Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 13 of 28




                                       III.    ARGUMENT

A.     Legal Standard for Summary Judgment

       In accordance with Bankruptcy Rule 7056 which incorporates Federal Rule of Civil

Procedure 56, summary judgment may be granted “if the pleadings, depositions, answers to

interrogatories and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(c); see Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548,

91 L. Ed. 2d 265 (1986). The moving party bears the burden of demonstrating the absence of any

genuine issue of material fact, and all inferences to be drawn from the underlying facts must be

viewed in the light most favorable to the party opposing the motion. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 249, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). A fact is considered material if

it might affect the outcome of the suit under governing law. See Id. at 248.

       If the moving party satisfies its burden, the party opposing the motion “must come

forward with specific facts showing that there is a genuine issue for trial.” Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 587, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986). “The

mere existence of a scintilla of evidence” in support of the non-moving party is not sufficient to

show a genuine issue of material fact. Anderson, 477 U.S. at 252. “If a defendant fails to set forth

specific facts that present a triable issue, its claims should not survive summary judgment.” In

re ACP Ameri-Tech Acquisition, LLC, 2012 WL 481582 (Bankr. E.D. Tex. Feb. 14, 2012) (citing

Giles v. Gen. Elec. Co., 245 F.3d 474, 494 (5th Cir. 2001)).

B.     The Transfers Were Property of the Debtors

       “For a transfer to be avoided under Section 547, ‘it is essential that the debtor have an

interest in the property transferred so that the estate is thereby diminished.’” Steinberg v. NCNB

Nat’l Bank of N. Carolina (In re Grabill Corp.), 135 B.R. 101, 107 (Bankr. N.D. Ill. 1991)


                                                  6
       Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 14 of 28




(quoting Corel Petroleum, Inc. v. Banque Paribas-London, 797 F.2d 1351, 1355-56 (5th Cir.

1986), rev denied, 801 F.2d 398 (5th Cir. 1986)). “Money or funds paid from a commingled bank

account are presumptively property of the debtor, and the transferee bears the burden of

overcoming this presumption by tracing the money as trust assets.” In re Alpha Ctr., Inc., 165

B.R. 881, 886 (Bankr. S.D. Ill. 1994) (citing In re Sierra Steel, Inc., 96 B.R. 271, 274, n. 5 (B.A.P.

9th Cir. 1989); In re Dobbs, 115 B.R. 258, 271 (Bankr. D. Idaho 1990)).

       In this case, the Transfers are presumptively the Debtors’ property because the Transfers

came from Debtors Dean Foods Company and Dean Dairy Holdings. See Statement of

Undisputed Material Facts (“SUMF”), supra, ¶¶ 15-16.

C.     Plaintiff’s Prima Facie Case is Satisfied

       When all inferences to be drawn from the underlying facts are viewed in the light most

favorable to the Defendant, the pleadings and affidavits submitted in connection with this

Adversary Proceeding show that there is no genuine issue as to the fact that the Plaintiff has

alleged all of the necessary elements to satisfy its prima facie case under 11 U.S.C. § 547(b) and

the Plaintiff is therefore entitled to judgment as a matter of law.

       To be recoverable as a preferential transfer, a payment must satisfy all of the requirements

of 11 U.S.C. § 547(b). Specifically, the transfer must have been:

         (1) made to or for the benefit of a creditor;
         (2) made for or on account of an antecedent debt owed by the debtor before such
         transfer was made;
         (3) made while the debtor was insolvent;
         (4) made on or within ninety (90) days before the date of filing of the petition; and
         (5) enabled the benefited creditor to receive more than such creditor would have
         received had the case been a chapter 7 liquidation and the creditor not received
         the transfer.

11 U.S.C. § 547(b).

       The trustee or debtor in possession bears the burden of proving each of these elements



                                                  7
       Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 15 of 28




by a preponderance of the evidence. 11 U.S.C. § 547(g); In re Emas Chiyoda Subsea Limited,

2020 WL 1696105 (Bankr. S.D. Tex. Apr. 6, 2020).

       1.      The Transfers Were Made to Defendant, a Creditor of the Debtors

       The Defendant received the Transfers sought to be recovered by the Plaintiff, as listed on

Exhibits A and B to the Complaint. See SUMF ¶¶ 13-14. The Transfers were made for the

Defendant’s benefit or the benefit of a creditor. Further, at the time each Transfer was made, the

Defendant was a creditor of the Debtors. See SUMF ¶¶ 17-18.

       2.      The Transfers Were on Account of Debt Owed by the Debtors Before the
               Transfers Were Made, and Were Therefore “Antecedent” Within the
               Meaning Of 11 U.S.C. § 547(b)(2)

       A debt is antecedent if it is incurred prior to the transfer in question. Baker Hughes Oilfield

Operations, Inc. v. Cage (In re Ramba, Inc.), 416 F.3d 394, 399 (5th Cir. 2005). The facts in this

case establish that the Transfers were payment on antecedent debts, as the payments were made

pursuant to obligations that arose prior to the payments. Specifically, the Transfers were made in

satisfaction of invoices that predated each corresponding Transfer. Golden Decl. at ¶ 8; Exs. A

and B (list of invoices paid by the Transfers). Therefore, Defendant had a right to receive the

Transfers in satisfaction of or on account of a then-existing obligation or debt owed to it by the

Debtors at the time the payment was made. See SUMF ¶¶ 19-20.

       3.      The Debtors Were Insolvent at All Times During the Preference Period and
               Have the Benefit of the Statutory Presumption of Insolvency Under 11 U.S.C.
               § 547(f)

       For purposes of the third element, a debtor is presumed insolvent during the ninety (90)

days preceding the filing of the petition. See 11 U.S.C. § 547(f); In re Emas Chiyoda Subsea

Limited, 2020 WL 1696105, * 5. “[A] creditor's knowledge or belief about a debtor's solvency is

not relevant to whether a transfer may be avoided as a preference.” Barber v. Central Bank Illinois

(In re Trappers Creek, LLC), No. ADV. 09-8067, 2010 WL 797022, at *4 (Bankr. C.D. Ill. Mar.


                                                 8
       Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 16 of 28




5, 2010) (citing Ragsdale v. Citizens and S. Nat’l Bank (In re Control Elec., Inc.), 91 B.R. 1010,

1015 (Bankr. N.D. Ga. 1988)). The presumption is rebuttable, but the creditor has the burden to

produce some evidence that the debtor was solvent at the time of the transfer. In re Emas Chiyoda

Subsea Limited, 2020 WL 1696105, * 5 (citing Gasmark Ltd. Liquidating Trust v. Louis Dreyfus

Natural Gas Corp., 158 F.3d 312, 315 (5th Cir. 1998)).

        In the instant case, the Defendant has failed to produce or introduce any evidence to

overcome the presumption. Further, the combination of secured and unsecured claims against the

Debtors’ bankruptcy estates greatly exceeds available assets. See Disclosure Statement Art. I,

Sect. D; Golden Decl. at ¶ 10. The Debtors are therefore presumed to have been insolvent during

the ninety (90) days prior to the Petition Date. The Debtors’ insolvency cannot be questioned and

there is no issue as to the Plaintiff’s success on this element of its claim.

        4.      The Transfers Occurred on or Within 90 Days of The Petition Date

        For purposes of Section 547(b)(4), a transfer by check occurs when the check is honored.

See Barnhill v. Johnson, 503 U.S. 393, 400, 112 S. Ct. 1386, 1390 (1992) (“for the purposes of

payment by ordinary check, therefore, a ‘transfer’ as defined by § 101(54) occurs on the date of

honor, and not before”). The Preference Period in this matter is August 14, 2019 through

November 12, 2019. The Transfers were made during the Preference Period. See SUMF ¶¶ 12-14.

        5.      The Transfers Enabled Defendant to Receive More Than It Would Have
                Received If the Transfers Had Not Been Made and Defendant Received
                Payment of Its Debt to The Extent Provided by The Bankruptcy Code

        Whether a transfer meets the test of Section 547(b)(5) of the Bankruptcy Code requires the

formulation of a hypothetical chapter 7 distribution of the debtor’s estate as it existed on the

bankruptcy petition date. In re Emas Chiyoda Subsea Limited, 2020 WL 1696105, * 6 (citing

Moser v. Bank of Tyler (In re Loggins), 513 B.R. 682, 707 (Bankr. E.D. Tex. 2014)). Courts must

determine whether the creditor obtained more pursuant to the transfer than the creditor would have


                                                   9
       Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 17 of 28




received in a chapter 7 distribution without the transfer. 11 U.S.C. § 547(b)(5). As long as the

distribution in bankruptcy is less than 100%, any payment on account of an unsecured creditor

during the Preference Period will enable that creditor to receive more than it would have received

in liquidation had the payment not been made. In re Emas Chiyoda Subsea Limited, 2020 WL

1696105, * 6 (citing Burtch v. Masiz (In re Vaso Active Pharmaceuticals, Inc.), 500 B.R. 384, 394

(Bankr. D. Del. 2013)). Impairment of a class of general unsecured creditors in a confirmed

bankruptcy plan is evidence that a creditor would not have received a 100% payout in a Chapter 7

liquidation. Id.

       In the instant case, unsecured creditors will receive far less than a 100% payout as required

to render inapplicable 11 U.S.C. § 547(b)(5). The combination of secured and unsecured claims

greatly exceeds available assets. Accordingly, distributions to general unsecured creditors will be

far less than 100%. Golden Decl. at ¶ 10. Defendant is an unsecured creditor, as it did not hold

a perfected security interest in the assets of the Debtors with respect to the Transfers. See SUMF

¶ 21. Plaintiff has accordingly met his burden of proving that the Transfers enabled the Defendant

to receive more than it would have received had the Debtors filed a chapter 7 case without having

made the Transfer at issue.

       In summary, the pleadings in this Adversary Proceeding, together with the declaration

and attached exhibits, show there is no genuine issue as to any material fact with respect to the

avoidability of the Transfers under Section 547(b). Accordingly, unless the Defendant is able to

establish an affirmative defense under Section 547(c), the Plaintiff is entitled to judgment as a

matter of law.

D.     The Plaintiff Need Not Introduce Evidence That the Exceptions to Avoidance Set
       Forth In 11 U.S.C. § 547(c) Are Inapplicable to the Transfers

       The moving party on summary judgment has no burden to negate or disprove matters for


                                                10
          Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 18 of 28




which the opponent has the burden of proof at trial. The Defendant has the burden of proving the

non-avoidability of the Transfers under 11 U.S.C. § 547(c) by a preponderance of the evidence.

See G.H. Leidenheimer Baking Co. v. Sharp (In re SGSM Acquisition Co.), 439 F.3d 233, 239 (5th

Cir. 2006). As to these affirmative defenses, the Plaintiff need only establish the absence of

sufficient evidence to establish such defenses, but can also demonstrate affirmatively that there is

no triable issue of fact as to each element of the defense. See In re Quality Infusion Care, Inc.,

2013 WL 6189948, at * 4 (Bankr. S.D. Tex. Nov. 25, 2013) (citing In re Gulf Fleet Holdings, Inc,

2013 WL 3230433, at * 2 (Bankr. W.D. La. June 25, 2013); In re Blake, 401 B.R. 839, 843 (Bankr.

S.D. Tex. 2009). Moreover, courts have repeatedly held that the exceptions contained in 11 U.S.C.

§ 547(c), including the ordinary course of business exception, “must be narrowly construed.” In

re Sea Bridge Marine, Inc., 412 B.R. 868, 872 (Bankr. E.D. La. 2008); Milwaukee Cheese

Wisconsin, Inc. v. Bukowski et al. (Milwaukee Cheese Wisconsin, Inc.), 164 B.R. 297, 306 (Bankr.

E.D. Wis. 1993) (citing Committee of Unsecured Creditors for Pittsburgh Cut Flower Co., Inc., v.

Hoopes (In re Pittsburgh Cut Flower Co., Inc.), 124 B.R. 451, 460 (Bankr. W.D. Pa. 1991); Hasset

v. Altai, Inc. (In re CIS Corp.), 214 B.R. 108, 119–20 (S.D.N.Y. 1997) (quoting, inter alia, First

Software Corp. v. Curtis Mfg. Co. (In re First Software Corp.), 81 B.R.211, 213 (Bankr. D. Mass.

1988)).

E.        Viewing the Facts in a Light Most Favorable to The Defendant, The Defendant Is
          Unable to Prove by A Preponderance of the Evidence That It Is Entitled to an
          Ordinary Course of Business Defense Under 11 U.S.C. § 547(c)(2)

          1.     Elements of the Ordinary Course of Business Defense.

          Section 547(c) of the Bankruptcy Code, as amended by the Bankruptcy Abuse Prevention

and Consumer Protection Act of 2005 (“BAPCPA”)6, permits a “safe harbor” for a transferee of


6
 Bankruptcy Abuse Prevention and Consumer Protection Act of 2005, Pub. L 109–8, April 20, 2005, 119
Stat 23


                                                11
       Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 19 of 28




a preferential payment that can satisfy the requirements set forth in either 11 U.S.C. § 547(c)

(2)(A) or § 547(c)(2)(B):

        (c) The trustee may not avoid under this section a transfer –
               (2) to the extent that such transfer was in payment of a debt incurred by
               the debtor in the ordinary course of business or financial affairs of the
               debtor and the transferee, and such transfer was –
                        (A) made in the ordinary course of business or financial affairs
                        of the debtor and the transferee; or
                        (B) made according to ordinary business terms.

11 U.S.C. § 547(c)(2).

       This section, as amended, provides for two “separate, independent” defenses. See Hutson

v. Branch Banking & Trust Co. (In re Nat’l Gas Distrib., LLC), 346 B.R. 394, 396 (Bankr.

E.D.N.C. 2006) (stating that the post-BAPCPA version of Section 547(c)(2) includes an “ordinary

course of business” defense under subsection (A), as well as an “ordinary business terms” defense

under subsection (B)).

               a.        Elements of the Subjective Ordinary Course of Business Defense

       The ordinary course of business (“OCB”) defense “is intended to protect recurring,

customary credit transactions that are incurred and paid in the ordinary course of business of the

debtor and the debtor’s transferee.” Jacobs v. Gramercy Jewelry Mrg. Corp. (In re M. Fabrikant

& Sons, Inc.), 2010 WL 4622449, at *2 (Bankr. S.D.N.Y. Nov. 4, 2010) (citing 5 Alan N. Resnick

& Henry J. Sommer, COLLIER ON BANKRUPTCY ¶ 547.04[2], at 547–51 (16th ed. 2010)). Courts

examine a variety of factors when determining whether preference period payments are

subjectively ordinary between the parties, including:

       (1) the length of time the parties were engaged in the transaction at issue;
       (2) whether the amount or form of tender differed from past practices;
       (3) whether the debtor or creditor engaged in any unusual collection or payment
       activity; and
       (4) the circumstances under which the payment was made.

Plan Administration Agent v. Coastal Industries, Inc. (In re Kevco, Inc.), Adv. No. 04-04239-BJH,


                                               12
       Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 20 of 28




2005 WL 6443621, *12 (Bankr. N.D. Tex. Jun. 30, 2005) (internal citations omitted). “If any one

factor is ‘compellingly inconsistent’ with prior transactions, the transfer should be considered

outside the ordinary course of business.” Id. (collecting cases).

       The subjective OCB defense examines whether the payments made to the creditor by the

debtor during the preference period are consistent with their historical dealings. ML Assoc., Inc. v.

T & R Demolition, Inc. (In re ML Assocs., Inc.), 301 B.R. 195, 204 (Bankr. N.D. Tex. 2003); SPW

Corp. v. A.P.V. Equip., Inc. (In re SPW Corp.), 96 B.R. 676, 681 (Bankr. N.D. Tex. 1989) (quoting

In re Magic Circle Energy Corp., 64 B.R. 269, 273 (Bankr. W.D. Okla. 1986)) (“[T]he cornerstone

of this element [ordinary course of business] of a preference defense is that the creditor needs to

demonstrate [sic] some consistency with other business transactions between the debtor and the

creditor.”). Late payments are typically not ordinary unless the creditor establishes a consistent

pattern of late payments between the parties. In re Tennessee Chemical Company, 112 F.3d 234,

244 (6th Cir. 1997).

       When assessing whether the preference period transfers fall within the parties’ ordinary

course of business, the Fifth Circuit has placed a particular emphasis on the timing of payments.

See Gasmark Ltd. Liquidating Tr. v. Louis Dreyfus Nat. Gas Corp., 158 F.3d 312, 317 (5th Cir.

1998) (stating that the analysis focuses on the time in which the debtor ordinarily paid the creditor).

Thus, in order to establish the subjective criteria of 11 U.S.C. § 547(c)(2)(A), a creditor must

generally produce some evidence of the “baseline of dealings” between the parties to “enable the

court to compare the payment practices during the preference period with the prior course of

dealings.” In re Schick, 234 B.R. 337, 348 (Bankr. S.D.N.Y.1999). When comparing preference

period payments to historical payments “[t]he starting point — and often ending point — involves

the consideration of the average time of payment after the issuance of the invoice during the pre-




                                                  13
       Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 21 of 28




preference and post-preference periods,the so-called ‘average lateness’ computation theory.” In re

M. Fabrikant & Sons, Inc., 2010 WL 4622449, *3 (Bankr. S.D.N.Y. Nov. 4, 2010). In conjunction

with examining the average, a review of the range of payments centered around the average and

the aging of invoices in “buckets” can yield additional information on whether payments were

ordinary. See, e.g., In re Hechinger Inv. Co. of Delaware, Inc., 489 F.3d 568, 578 (3d Cir. 2007)

(comparing percentage of preference period payments made within 0-10 days from invoice during

the preference period with percentage of payments made during the same time period in the

historical period); AFA Investment Inc. v. Dale T. Smith & Sons Meat Packing Co. (In re AFA

Investment Inc.), 2016 WL 908212 (Bankr. D. Del. 2016) (examining percentages and weighted

averages when determining that defendant had not satisfied burden under ordinary course of

business defense); In re Forklift LP Corp., 2006 WL 2042979, *8 (D. Del. 2006) (same).

               b.      Elements of the Objective Ordinary Course of Business Defense

       Section 547(c)(2)(B), on the other hand, is an objective test concerned with the relationship

between similarly-situated parties in the industry as a whole. See, e.g. Gulf City Seafoods, Inc. v.

Ludwig Shrimp Co. (In re Gulf City Seafoods, Inc.), 296 F.3d 363, 369 (5th Cir. 2002). “[T]he

question must be resolved by consideration of the practices in the industry—not by the parties'

dealings with each other.” In re ML & Assocs., Inc., 301 B.R. 195, 206 (Bankr. N.D. Tex. 2003)

(citing Gulf City Seafoods, Inc., 296 F.3d at 369). This can be accomplished by comparing “the

credit arrangements between other similarly situated debtors and creditors in the industry.” In re

Tri-Union Dev. Corp., 349 B.R. 145, 151 (Bankr. S.D. Tex. 2006) (citing In re SGSM Acquisition

Co., LLC, 439 F.3d 233, 239 (5th Cir. 2006)).

       2.      Defendant Does Not Meet the Subjective Ordinary Course of Business Test
               Under 11 U.S.C. § 547(c)(2)(A)

       Defendant fails to satisfy the subjective ordinary course of business test under 11 U.S.C.



                                                14
       Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 22 of 28




§ 547(c)(2)(A) by virtue of the fact that the payments were made far later than was typical

between the parties.

               a.      The Vast Majority of Payments During the Historical Period Were
                       Paid 16-25 Days After Invoice Date

        Between November 2017 and August 13, 2019 (the “Historical Period”), Dean Foods

Company made payments on 142 invoices. The average time between invoice and payment was

29.7 days past invoice date. 74% of invoices were paid between 16 and 25 days past invoice date.

A summary of transactions during the Historical Period between Dean Foods Company and

Defendant is attached to the Golden Declaration as Exhibit C. Golden Decl. at ¶¶ 11-12, Ex. C.

        During the Historical Period, Dean Dairy Holdings made payments on 44 invoices. The

average time between invoice and payment was 21.2 days past invoice date. 87% of invoices were

paid between 16 and 25 days past invoice date. A summary of transactions during the Historical

Period between Dean Foods Company and Defendant is attached to the Golden Declaration as

Exhibit D. Golden Decl. at ¶¶ 11-12, Ex. D.

                    b. The Vast Majority of the Transfers Were Paid 61-65 Days After Invoice
                       Date
        During the Preference Period, Dean Foods Company made payments on 21 invoices. The

average time between invoice and payment was 65.57 days. 95% of such payments were made

between 61 and 65 days past invoice date. A summary of payments on invoices during the

Preference Period is attached to the Golden Declaration as Exhibit A. Golden Decl. at ¶¶ 8, 11-

12, Ex. A.

        During the Preference Period, Dean Dairy Holdings paid a single invoice 51 days after the

invoice date. A summary of the invoice paid by the Dean Dairy Transfer is attached to the Golden

Declaration as Exhibit B. Golden Decl. at ¶¶ 8, 11-12, Ex. B.




                                               15
       Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 23 of 28




                   c. The Transfers Demonstrate a Significant Shift in Payment Behavior

       Statistically, the difference in timing of payments between the Historical and Preference Periods

is palpable. Dean Foods Company historically paid invoices within 29.7 days of the invoice date, on

average. Golden Decl., Ex. C. In contrast, the average timing for payments ballooned to 65.6 days

during the Preference Period, or more than twice as long as the historical average. Golden Decl., Ex.

A. Each of the Dean Foods Transfers paid invoices more than 60 days past invoice date, while less than

25% of historical payments were paid so late. Golden Decl., Exs. A, C.

       A similar shift to late pay occurred with the Dean Dairy Transfer. The Dean Dairy Transfer paid

a single invoice 51 days after invoice date. Golden Decl., Ex. B. Historically, Dean Dairy Holdings

paid 20 out of 21 invoices within 33 days of invoice with an average days to pay of 21.2 days. Golden

Decl., Ex. D. Like the timing of the Dean Foods Transfers, the length of time Dean Dairy Holdings

took to make the Dean Dairy Transfer was more than double that of historical payments.

       The Debtors’ clear and significant shift to late pay on the part of the Defendant is the

hallmark of a preference. Indeed, courts have relied on much smaller variances in payment timing

to avoid transfers as preferential. See, e.g., In re SGSM Acquisition Co., LLC, 439 F.3d 233, 240

(5th Cir. 2006) (analyzing the average time between invoice and payment during the pre-

preference period to the preference period, finding that a 17-day difference in the averages was

outside the ordinary course of business); In re Gulf Fleet Holdings, Inc., No. 10-50713, 2014 WL

1168885, at *3 (Bankr. W.D. La. Mar. 21, 2014) (finding that the average payment gap in the

historical period (13 days) differed materially from the average payment gap in the preference

period (22.5 days)); Off. Plan Comm. v. Expeditors Int’l of Wash, Inc. (In re Gateway Pac. Corp.),

153 F.3d 915, 918 (9th Cir. 1998) (payments not ordinary when there is a 19-day (54%) difference

between the historical and preference periods); Off. Comm. of Unsecured Creditors v. CRST, Inc.




                                                  16
       Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 24 of 28




(In re CGG 1355, Inc.), 276 B.R. 377, 383-84 (Bankr. D.N.J. 2002) (not ordinary when payments

made, on average, 89.5 days from invoice during preference period compared to 66.47 days from

invoice historically, including 73.4 days during final year of relationship (35% and 24% increases,

respectively); In re CIS Corp., 214 B.R. at 120 (payments not ordinary when there was a 29 day

(57%) increase from historical to preference period).

                   d. Difference in Lateness is Magnified when Transfers are Compared
                      with Transactions Prior to May 2019

       Defendant will likely argue that payments within 61-65 days of invoice are ordinary

because this timing was not unprecedented historically. Indeed, during the Historical Period,

approximately 17% of invoices were paid within a 61-65 day range. Exhibits C, D. However, a

closer inspection of the parties’ transactions reveals that the bulk of the historical 61-65 day

payments occurred just a few months before the Preference Period, and were otherwise not at all

common in the parties’ historical course of dealing.

       When assessing the ordinariness of Preference Period payments, courts apply a historical

baseline representative of when the Debtors were financially healthy. See, e.g., In re Gulf Fleet

Holdings, Inc., No. 10-50713, 2014 WL 1168885, at *3 (Bankr. W.D. La. Mar. 21, 2014), aff'd

sub nom., Candy Fleet LLC v. Goodman, No. 6:14-1799, 2014 WL 5808357 (W.D. La. Sept. 26,

2014) (finding that the “parties payment history during 2008 was a sounder baseline for purposes

of the ordinary course of business defense, and did not include the “first four months of 2009

because of [the Debtor’s] deteriorating financial condition in 2009.”); Unsecured Creditors Comm.

of Sparrer Sausage Co., Inc. v. Jason's Foods, Inc., 826 F.3d 388, 394 (7th Cir. 2016) (“the

baseline should reflect payment practices that the companies established before the onset of any

financial distress associated with the debtor’s impending bankruptcy”); In re Affiliated Foods Sw.

Inc., 750 F.3d 714, 720 (8th Cir. 2014) (“To make a sound comparison, ‘[n]umerous decisions



                                                17
       Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 25 of 28




support the view that the historical baseline should be based on a time frame when the debtor was

financially healthy.’”); In re Quebecor World (USA), Inc., 491 B.R. 379, 387 (Bankr. S.D.N.Y.

2013). Thus, the transfers at issue should conform to “the norm established by the debtor and

creditor in the period before, preferably well before, the preference period.” In re Tolona Pizza

Prods. Corp., 3 F.3d 1029, 1032 (7th Cir. 1993).

       Courts give greater weight to transactions when the debtors were healthy, and in some

cases will exclude from the subjective analysis payments occurring when the debtor was not

healthy. See Sparrer Sausage, 826 F.3d 388; Goodman v. Candy Fleet, LLC (In re Gulf Fleet

Holdings, Inc.), Civ. Act. No. 6:14-1799 (W.D. La. Sept. 26, 2014); Siegel v. Russellville Steel

Company, Inc. (In re Circuit City Stores, Inc.), 479 B.R. 703 (Bankr. E.D. Va. 2012). Where a

debtor's payment practices abruptly change after a material deterioration in its finances, such that

a “new paradigm” with respect to payment practices comes into existence, payments subsequent

to the financial deterioration should be excluded from the baseline period. In re Blue Glob., LLC,

591 B.R. 433, 446 (Bankr. C.D. Cal. 2018) (citing Siegel v. Russellville Steel Co., Inc. (In re Circuit

City Stores, Inc.), 479 B.R. 703, 710 (Bankr. E.D. Va. 2012)).

       According to their CFO, the Debtors’ slide into bankruptcy was underway well into the

second quarter of 2019. As reflected in the Declaration of Gary Rahlfs in Support of Debtors’

Chapter 11 Proceedings and First Day Pleadings [Case 19-36313 D.I. 46] (the “Rahlfs

Declaration”), which Declaration is incorporated by reference herein:

       -   In February 2019, as a result of significant declines in its sales volumes and increased
           costs, the Debtors were forced to replace their prior senior secured revolving credit
           facility with a new credit facility with a significantly smaller borrowing base and tighter
           fixed charge coverage ratio. Rahlfs Declaration at ¶ 51.

       -   Also in February 2019, as a result of tight liquidity, the Debtors suspended dividend
           payments to shareholders. Rahlfs Declaration at ¶ 52.




                                                  18
       Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 26 of 28




       -   In February 2019, the Debtors retained an investment banking advisory firm to evaluate
           strategic alternatives, including the sale of assets or enterprises, but none of these
           options could be pursued due in large part to significant contingent liabilities the
           Debtors faced in connection with pension plans. Rahlfs Declaration at ¶ 56.

       -   The Debtors’ second quarter 2019 results forced it to reduce its internal full year
           operating income forecast to show that it would be a net user of cash in 2019. Rahlfs
           Declaration at ¶ 57.

       Historically, the Debtors rarely paid Defendant more than 30 days after invoice date prior

to May 2019. As reflected in the parties’ transaction history, between November 2017 and April

2019, the Debtors paid Defendant within 21.8 days of invoice, on average, with more than 90% of

payments occurring within 30 days of invoice. Golden Decl., Exs. C, D. The Debtors’ payment

behavior shifted dramatically beginning at the end of April 2019. Between April 30, 2019 and

August 13, 2019 (the day before the Preference Period), 85% of invoices were paid more than 60

days past invoice date. This trend continued into the Preference Period when 95% of invoices

were paid more than 60 days past invoice date.

       The Debtors’ sudden shift in payment practices, from 16-25 days historically to 61-65 days

beginning in May 2019, coincided with their deteriorating financial position. The Debtors were

struggling to pay with the same frequency as was their norm as they slid toward bankruptcy. This

clear shift to later pay is indicative of non-ordinary payments and completely removes the

Transfers from Section 547(c)(2)’s protection.

       3. The Defendant Cannot Establish That It Meets the Objective Ordinary Course of
          Business Test Under 11 U.S.C. § 547(c)(2)(B)

       Defendant has submitted no evidence to suggest that it can meet the burden of establishing

that the Transfer was made according to objective ordinary business terms in the Debtors’ and

Defendant’s respective industries pursuant to 11 U.S.C. § 547(c)(2)(B). Defendant has failed to

meet its burden as to this affirmative defense. Should Defendant offer any evidence in support of

an objective ordinary course defense, Plaintiff reserves the right to respond and refute such


                                                 19
      Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 27 of 28




evidence.

                                 IV.        CONCLUSION

        For the foregoing reasons, Plaintiff respectfully requests that this Court enter an order

granting summary judgment as to each prima facie element of Plaintiff’s claims, and further

finding that there is no genuine issue of material fact that would support an affirmative defense,

and granting the Motion in its entirety and entering judgment in favor of Plaintiff in the principal

amount of $430,869.26, plus pre-judgment interest.


Dated: October 14, 2022                      ASK LLP

                                             /s/ Nicholas C. Brown
                                             Joseph L. Steinfeld, Jr., Esq., MN SBN 0266292
                                             Kara E. Casteel, Esq., MN SBN 0389115
                                             (admitted pro hac vice)
                                             Nicholas C. Brown, Esq., NC SBN 38054
                                             (admitted pro hac vice)
                                             2600 Eagan Woods Drive, Suite 400
                                             St. Paul, MN 55121
                                             Telephone: (651) 289-3850
                                             Fax: (651) 406-9676
                                             Email: jsteinfeld@askllp.com
                                                    kcasteel@askllp.com
                                                    nbrown@askllp.com

                                             -and-

                                             Edward E. Neiger, Esq.
                                             60 East 42nd Street, 46th Fl.
                                             New York, NY 10165
                                             Telephone: (212) 267-7342
                                             Email: eneiger@askllp.com

                                             Counsel to Daniel H. Golden, Liquidating Trustee
                                             of the DFC Liquidating Trust




                                                20
       Case 21-03067 Document 15 Filed in TXSB on 10/14/22 Page 28 of 28




                                CERTIFICATE OF SERVICE

        I certify that on October 14, 2022, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                    /s/ Nicholas C. Brown
                                                    Nicholas C. Brown




                                               21
